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                         IN THEUNITED STATES DISTRICT COURT                              . .. •                          1.l      2: ' ..
                         FOR THE DISTRICT OF MASSACHUSETTS
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 In The Matter of the Search of
                                                       Court No. 13-MJ-3104-KPN
 University of Massachusetts
 Dorm Room of
 Thomas Kennedy McCormick




             GOVERNMENT'S MOTION TO UNSEAL SEARCH WARRANT

       The United States of America respectfully moves this court to unseal the materials relative

to the above-captioned search warrant, which was ordered sealed by this Court on December 4,

2014. The warrant was executed on December 5, 2013. The reasons for sealing the warrant have

been satisfied. There is a need to disclose the warrant and affidavit in connection with prosecution

of a criminal case, United States v. McCormick, et al, Cr. 18-359(JDB) in the U.S. District Court

for the District of Columbia. This request was conveyed to the undersigned by Assistant U.S.

Attorneys John P. Dominguez and Peter Roman of the United States Attorney' s Office for the

District of Columbia.      THEREFORE, the Government moves the court to issue an order

unsealing the case.




                                                     Respectfully submitted,

                                                     ANDREW E. LELLING
                                                     UNITED STATES ATTORNEY


                                              By:     Isl Anne Paruti
                                                     Anne Paruti
                                                     Assistant United States Attorney

                                                     Dated: Julyl 7, 2019
